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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CRIMINAL NO:
                                                 :
              v.                                 :
                                                 :    MAGISTRATE NO. 21-MJ-392
 SEAN DAVID WATSON,                              :
                                                 :    VIOLATIONS:
                       Defendant.                :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a Restricted
                                                 :    Building)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Violent Entry and Disorderly Conduct
                                                 :    and Parading, Demonstrating, or Picketing
                                                 :    in a Capitol Building)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, SEAN DAVID WATSON,

knowingly entered and remained in the United States Capitol, a restricted building, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, SEAN DAVID

WATSON, knowingly, and with intent to impede and disrupt the orderly conduct of

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Government business and official functions, engaged in disorderly and disruptive conduct in, and

within such proximity to the United States Capitol, a restricted building, when, and so that, such

conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia, SEAN DAVID WATSON,

willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104 (e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, SEAN DAVID

WATSON, willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104 (e)(2)(G))

                                           Respectfully submitted,

                                           Channing D. Phillips
                                           Acting U.S. Attorney
                                           D.C. Bar No. 415793

                                    By:    /s/ Graciela Lindberg
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